                           UNITED STATES DISTRICT COURT
                           SO UT H ERN D ISTR ICT O F FL O R ID A
                                      M iam iD ivision

                                                    M D L N o.2599
                                                    M aster File N o.15-2599-M D -M O REN O
                                                    N o.14-24009-C V-M O REN O

IN RE:

TA K ATA A IRBA G PR O D UC TS
LIA BILIT Y L ITIG A TIO N


TH IS D O CUM EN T RELA TES TO
ECON O M IC LOSS TR ACK CA SES
                               /
    O R D ER G R ANT IN G IN PA RT AN D DEN Y IN G IN PA R T A M ER IC AN H O N D A
                    M O TO R C O M PA NY 'S M O TIO N T O D ISM ISS

       This multidistrid litigation ($iMDL'') consolidates allegations of economic loss and
personal injury related to airbags manufadured by defendants Takata Corporation and TK
Holdings and equipped in vehicles manufactured by defendants Honda, BM W , Ford, M azda,

M itsubishi, N issan, Subaru, and Toyota. H onda's M otion asks the C ourt to dism iss ûldiscrete

claims''alleged againstitin the Second Amended Econom ic LossComplaint.

                                          BAC K G RO UN D

       Plaintiffs in thiscase are consumersofvehiclesequipped with Takata airbagscontaining

am monium nitrateasapropellant. The Courthasdivided the M DL'Scomponentcases into two

tracks:an econom ie loss track for plaintiffs alleging purely econom ic dam ages and a personal

injurytrack forplaintiffsallegingdamagestoaperson. Thisorderpertainstotheeconomicloss
track cases. ln the Complaint,Plaintiffsallege variouscountsagainstHonda, butthe Courtonly
addressesthose countsH onda seeksto dism iss.l

       Honda askstheCourtto dism issthefollowingcounts:

           * Count 3 for violation of the M agnuson-M oss W anunty Act on behalf of the
             N ationw ide Consum erClass

           @ Count9 forfraudulentconcealmenton behalfoftheNationwide ConsumerClassz

           @ Count10 forviolation ofthe Song-Beverly ConsumerW arranty Actforbreach of
             im plied warranty ofm erchantability on behalfofthe N ationw ide Consum erClass

           * CountllforunjustenrichmentonbehalfoftheNationwideConsumerClass
           @ Count12 forviolation ofthe California UnfairCompetition Law on behalfofthe
             N ationw ide Consum erClass

           * Count 13 for violation of the Consum er Legal Rem edies Act on behalf ofthe
             N ationw ide Consum erClass 3

           * Count 14 forviolation ofthe California False Advertising Law on behalfofthe
             N ationw ide Consum er Class

           * Count 15 fornegligentfailure to recallon behalf ofthe Nationwide Consum er
             Class

           * Count 46 for negligent failure to recall on behalf of the N ationwide Toyota
             Consum erClass 4

l      The Courthasalready addressed Honda'srequestto dism issCount2 forviolation of l8
U.S.C.j l962(d),theRacketeerlntluencedandCorruptOrganizationsAct.
       The CourtdoesnotaddressHonda'smotion to dism issthe fraudulenteoneealm entclaim
as Honda only argues the claim should be dismissed because certain Plaintiffs are barred from
invoking California law .A s has been m ade clear from the Court's previous Orders, an analysis
ofeach claim alleged under the comm on 1aw hasbeen addressed underthe applicable 1aw for
eachPlaintiff.BecauseHondahasnotaddressedthemeritsofthisclaim astoany Plaintiff(even
thoseto whom Californialaw would apply),theCourtdeniesthemotion to dismissasto Count
9.

       ln their Response, Plaintiffs state they tldo not intend to seek such recall-related
injunctive relief'as outlined in Counts 12 and 13.Thus, Count 12 and Count 13 are
D ISM ISSED .
          * Count47 forviolation ofthe Florida Deceptive and UnfairTrade PracticesActon
            behalfoftheFloridaConsumerSub-class

          * Count48forbreach ofimylied warranty of m erchantability on behalf of the
             Florida Consum er Sub-c lass

          * Count49 forviolation oftheAlabama Deceptive Trade PradicesAd onbehalfof
            the A labam a Consum erSub-class

          @ Count53 forviolation ofthe California False Advertising Law on behalfofthe
            California Consum erSub-class

          @ Count54 forviolation oftheSong-Beverly Consum erW arranty Actforbreach of
            the im plied warranty of m erchantability on behalf of the California Consum er
            Sub-class

          @ Count55 for negligentfailure to recallon behalfofthe Califom ia Consum er Sub-
            C lass

          * Count59 forviolation ofthe Georgia FairBusinessPracticesActon behalfofthe
            Georgia Consum erSub-class

          * Count62 for breach ofthe implied warranty of merchantability on behalfofthe
            H aw aiiConsum erSub-class

          @ Count66 forbreach ofthe im plied warranty ofm erchantability on behalfofthe
            lndianaConsumerSub-class

          @ Count69 forbreach ofthe im plied warranty ofmerchantability/warranty against
            redhibitory defectson behalfofthe Louisiana ConsumerSub-class

          * Count 70 for violation of the Deceptive Acts or Practices Prohibited by
            M assachusettsLaw on behalfoftheM assachusettsConsumerSub-class

             Count71 forbreach ofthe implied warranty ofmerchantability on behalfofthe
             M assachusettsConsum erSub-class

          * Count73 forbreach ofthe im plied wanunty ofmerchantability on behalfofthe
            M ichigan Consum er Sub-c lass

4      The Courtdoesnotaddressthisclaim herebecause itrefersto theToyota Defendants, not
the Honda Defendants.See D.E.1202 at14-16.

      In their Response, Plaintiffs state they lûhave elected not to pursue im plied warranty
claimsunderFlorida''law.(D.E.658at91n.75).Thus,Count48 andthederivativeMagnuson-
MossW arranty Actclaim (Count3)areDISM ISSED.
           * Count76 forbreach ofthe implied warranty ofmerchantability on behalfofthe
             M innesota Consum erSub-class

               Count78 for breach ofthe implied warranty ofm erchantability on behalfofthe
               M issouriConsum erSub-class

           * Count80 forbreach ofthe im plied warranty ofmerchantability on behalfofthe
             Nevada Consum erSub-class

           @ Count81 forbreach ofthe implied warranty ofmerchantability on behalfofthe
             New Jersey Consum erSub-class

           @ Count86 for breach ofthe implied warranty ofm erchantability on behalfofthe
             N orth Carolina Consum er Sub-c lass6

           * Count90 forbreach ofthe implied warranty ofm erchantability on behalfofthe
             Pennsylvania Consum erSub-class

           * Count92 forbreach ofthe implied warranty ofmerchantability on behalfofthe
             Ithode lsland Consum er Sub-class

           @ Count98 forbreach ofthe implied warranty ofm erchantability on behalfofthe
             TexasConsum erSub-class

              Count 102 forviolation ofthe Consum erCreditand Protection Acton behalfof
              the W estV irginia Consum er Sub-class

           * Count 103 forbreach ofthe implied warranty ofm erchantability on behalfofthe
             W estVirginia Consum er Sub-class.

       These counts arise out of various Nam ed Plaintiffs' Honda and Acura purchases.

Plaintiffs group themselves by state consumer classes.The classes are composed of ilgalll

persons who,priorto the date on which the ClassVehicle was revalled, entered into a lease or

boughta ClassVehicle in thc state of         (e.g.,Floridal.''In otherwords, a11Plaintiffswho
purchased or leased their vehicles in the sam e state are grouped together as m em bers of that


6     In their Response, Plaintiffs state they t'have elected not to pursue im plied warranty
claimsunder...North Carolina''law . (D.E.658at91n.75).Thus,Count86andthederivative
Magnuson-MossW arrantyActclaim (Count3)areDISM ISSED.

                                              4
state'ssubclassregardlessofwhere they live orfiled theircom plaints. The relevantinform ation

as to each N am ed Plaintiffisasfollow s:

                                            A labam a Subclass

   * M ario Cervantes,an Alabama resident,purchased a used 2003 Honda Pilotin 2007 in
     Alabama.Cervantes's claim swere transferred into the M DL from the Northern District
     ofA labam a.

   * M aritaK .M urphy,an Alabam aresident,purchased a new 2003 HondaPilotEX on April
     22,2003 in Alabama.M urphy'sclaimswere transferred into the M DL from theNorthern
     D istrictofAlabam a.

   * Cathryn Tanner,an Alabam a resident,purchased a used 2003 Honda Civicon October8,
     2009 in Alabam a. Tanner's claim s were transferred into the M DL from the Northern
     DistrictofA labam a.

   * Charlotte W hitehead,an A labam a resident, purchased a used 2003 H onda Civic LX in
     2007 in Alabama. W hitehead's claims were transferred into the M DL from the Central
     D istrictofCalifornia.

                                      A rizona Subclass

   @ Gwendolyn Cody,an Arizona resident,purchased a new 2006 Honda CRV in Septem ber
     29,2006 in Arizona. Cody's claims were transferred into the M DL from the Central
     D istrictof Califom ia.

   * Kristen Go,a Califom ia resident,purchased a new 2001 Honda Accord in Decem ber
     2000 in Arizona.Go'sclaimswere transferred into the M DL from the CentralDistrictof
     California.

   * Chris Pedersen,a Kentucky resident, purchased a new 2004 H onda O dyssey in O ctober
     2003 in Arizona.Pedersen's claims were transferred into the M DL from the Eastern
     DistrictofKentucky.

                                     C alifornia Subclass

      Jina Bae,a California resident,purchased a used 2004 H onda A ccord in Septem ber2008
      in California.Bae's claim s were transferred into the M D L from the CentralD istrict of
      California.

  . Lonnee Cataldo,a Florida resident.purchased a used 2003 Honda Element in 2004 in
    California.Cataldo'sclaim sweretransferred into the M DL from the Southern Districtof
    Florida.
* Leslie A . Flaherty, a California resident, purchased a new 2008 Honda Element on
  December l,2007 in California.Flaherty'sclaim swere direct-filed into the M DL.

@ Terri G am ino,a California resident, purchased a new 2006 Honda Accord in October
  2007 in Califom ia.Gam ino's claim s were transferred into the M DL from the Southern
  D istrictofCalifornia.

* Judith Hollywood,a California resident, purchased a new 2004 Honda Accord LX on
  December28,2008 in Califom ia.Hollywood's claim s were transferred into the M DL
  from the CentralDistrictofCalifornia.

* Constantine Kazos, a C alifornia resident, purchased a new 2008 Honda Elem ent in
  August 2008 in California.Kazos's claims were transferred into the M DL from the
  Eastern DistrictofN ew York.

@ Richard D.Klinger,a California resident, purchased a used 2003 Honda Civic Hybrid in
  2006 in California. K linger's claim s w ere transferred into the M D L from the Central
  D istrictofCalifornia.

* M ichaelM clweod,aCaliforniaresident, purchased anew 2007 Honda Accord on January
  11,2007 in California.M clweod'sclaim swere transferred into the M DL from the Central
  DistrictofCalifornia.

@ Valerie M .N annery,a DistrictofColumbiaresident, purchased anew 2004 HondaCivic
  Hybrid on Septem ber30,2004 in California. N annery'sclaim swere transferred into the
  M DL from the CentralDistrictofCalifornia.

   Holly Ruth,a Californiaresident,purchased aused 2002 Honda Accord EX in M ay 2007
   in California.Ruth'sclaim sweredirect-filed intotheM DL.

* David Takeda,a California resident,purchased a new 2005 Honda Elementin July 2005
  in Califonzia.Takeda's claim sw ere transferred into the M D L from the CentralDistrictof
  California.

* Susana Zam ora, a California resident, purchased a new 2004 H onda A ccord Sedan in
  2004 in California.Zam ora's claim s were transferred into the M DL from the Southelm
  DistrictofC alifornia.



                                          6
                                 ConnecticutSubclass

* Nicole Peaslee,a M assachusetts resident,purchased a new 2004 Honda Accord EX in
  October2004 in Connecticut.Peaslee's claim s were transferred into the M DL from the
  Southern Distrid ofFlorida.

                                   Florida Subclass

* K iele A llen,a Florida resident, purchased a used 2002 HondaOdyssey in Florida. Allen's
   claim sweretransferred into theM DL from the Southern DistrictofFlorida    .




* Cam ila Corteleti,aFloridaresident,purchased a used 2004 Honda Civicon April1, 2011
  in Florida.Corteleti'sclaimsweredirect-filed into theM DL.

* Ryvania Fuentes,a Florida resident, purchased a used 2007 Honda Accord in Decem ber
  2007 in Florida.Fuentes's claim s were transferred into the M DL from the Southern
  D istrictofFlorida.

   K im berly H olm es,a Florida resident, purchased a new 2002 HondaOdyssey on February
   11,2002 in Florida.Holmes's claim swere transferred into the M DL from the Southern
   Districtof Florida.

   Pam ela H.Koehler,aFloridaresident, purchased anew 2006 HondaPilotin M arch 2006
   in Florida.Koehler's claim swere transferred into the M DL from the Southern Districtof
   Florida.

* David K opelm an,a Florida resident, purchased a new 2004 HondaPilotEXL DVD on
  August6,2004 in Florida.Kopelman'sclaimsweretransferred into theM DL from the
  Southern DistrictofFlorida.

   GailM arkowitz,a Florida resident, purchased a used 2007 Honda Accord on M ay 15,
   2009 in Florida.M arkowitz's claim s were transferred into the M DL from the Southern
   DistrictofFlorida.

   Yessica M artinez,a Florida resident,purchased a new 2004 Honda C ivic on M ay 2004 in
   Florida.M artinez's claim s w ere transferred into the M D L from the Southern D istrictof
   Florida.

  M aureen G ilick Rash,a Florida resident, leased and then purchased a new 2007 H onda
  Pilotin February 201l in Florida.Rash's claim s w ere transferred into the M D L from the
  Southern D istrictofFlorida.
* Steven P.Schneider,a Florida resident, purchased aused 2002 Acura TL in M ay orJune
  2012 in Florida.Schneider's claims were transferred into the M DL from the Southern
  DistrictofFlorida,

* Shaun Taylor,a Florida resident, purchased a used 2004 Honda Accord in M arch 28,
  2011 in Florida.Taylor's claim s w ere transferred into the M D L from the CentralDistrict
  ofCalifornia.

* Oswald C.Tessier,a Florida resident, purchased a new 2003 Honda Accord on August8,
  2003 in Florida.Tessier's claim s were transferred into the M DL from the Southern
  D istrictofNew York.

   RobertE.W eisberg,a Florida resident, purchased anew 2005 HondaCRV in November
   2004 in Florida.W eisberg's claim s were transferred into the M DL from the Southern
   D istrictof Florida.

                                  G eorzia Subclass
@ Richard Am old,a G eorgia resident, purchased a used 2006 Honda Pilot on O ctober 14,
  2012 in Georgia.Arnold's claim s were transferred into the M DL from the Northern
  DistrictofGeorgia.

* Trey W atley, a G eorgia resident, purchased a new 2006 H onda Pilot in June 2006 in
  Georgia.W atley's claim s wcre transferred into the M DL from the Northern Districtof
  G eorgia.

* Bonnie Y oung, a North Carolina resident, purchased a new 2006 A cura M DX in
  Novem ber 2006 in Georgia.Young's claim s were transferred into the M DL from the
  Eastern DistrictofNorth Carolina.

                                  H aw aiiSubclass
   Timothy L.Archer,a Hawaiiresident, purchased a new 2004 Honda CRV in April2004
   in Hawaii.Archer's claim s were transferred into the M DL from the CentralDistrictof
   California.

  David M . Jorgensen,a Haw aii resident, leased and then purchased a new 2006 H onda
  Ridgeline in 2006 in Hawaii.Jorgensen'sclaim swere transferred into theM DL from the
  Southern D istrictofFlorida.



                                          8
                                      lllinoisSubclass

* PeterBreschnev,an lllinoisresident,purchased a new 2002 Acura TL in April2002 in
  lllinois.Breschnev'sclaims were transferred into the M DL from the Eastern Districtof
  M ichigan.
                                   Indiana Subclass

@ Charles and Vickie Burd,lndiana residents, purchased a used 2004 Honda Odyssey in
  M arch orApril2007 in lndiana.Theirclaim sweredirect-filed into the M DL.

                                    Louisiana Subclass

   Tasha Severio,a Louisiana resident,purchased a used 2007 Honda Pilot on February
   20l3 in Louisiana.Severio's claims were transferred into the M DL from the Southern
   D istrictofFlorida.

                              M assachusetts Subclass
   M egan Sayre-scibona,a M assachusetts resident, purchased a used 2005 H onda C RV in
   2010 in M assachusetts.Sayre-scibona'sclaim s were direct-filed into the M DL .

                                    M ichiaan Subclass

   Erik Boone,a M ichigan resident,purchased a used 2004 Honda Piloton M arch 31, 2014
   in M ichigan.Boone'sclaim swere transferred into the M DL from the CentralDistrictof
   California.
                                   M innesota Subclass

@ Darla Spiess,a M innesota resident, purchased a used 2005 Acura M DX in M innesota.
  Spiess'sclaimsweredirect-filed into theM DL.

                                    M issouriSubclass

   Am ber Hodgson,a M issouriresident,purchased a new 2004 H onda C RV on January 4,
   2004 in M issouri.Hodgson's vlaim s were transferred into the M DL from the W estern
   D istrictofM issouri.

   RussellHolland,a M issouriresident,purchased anew 2007 Honda Pilotin April2007 in
   M issouri.Holland's claim swere transferred into the M DL from the W estern Districtof
   M issouri.


                                         9
* Jason M oehlman,a M issouriresident,purchased a used 2005 Honda Civic in July 2007
  in M issouri. M oehlm an's claim s w ere transferred into the M DL from the W estern
  DistrictofM issouri.

                               N orth Carolina Subclass

* M arjorie M ichelle Avery,a North Carolina resident,purchased a new 2006 Honda
   Ridgeline in August2005 in North Carolina.Avery's claim s were transferred into the
   M DL from the W estern DistrictofNorth Carolina.

@ John M eiser,a N orth Carolina resident,purchased a used 2007 Honda Pilot in 2007 in
  North Carolina.M eiser'sclaimsweretransferred into theM DL from the W estern District
  ofN orth Carolina.

                                 N ew Jersev Subclass

* Doreen Dembeck,a New Jersey resident,purchased a new 2005 Honda Accord in April
  2005 in New Jersey.Dembeck'sclaim swere direct-filed into theM DL.

@ Helen Klemer,aNew Jersey resident,purchased a new 2004 Honda Accord in November
  2004 in New Jersey.Klem er'sclaimsweredirect-tiled into the M DL.

                                  N ew Y ork Subclass

* RafaelA .G areia,a N ew Y ork resident, purchased a used 2007 HondaPiloton M arch 30,
  20l3 in New York.Garcia's claims were transferred into the M DL from the Southern
  D istrictofNew York.

@ Anthony Palm ieri, a N ew York resident, purchased a used 2005 Honda Accord in
  Oetober2009 in New York.Palmieri'sclaims were transferred into the M DL from the
  CentralDistrictofCalifornia.

                                   N evada Subclass

@ Kostan Lathouris,a Nevada resident,purehased a used 2005 Honda Civic on April10,
  2006 in Nevada.Lathouris's claims were transferred into the M DL from the Central
  Distrid ofCalifornia.

                                    O hio Subclass

   K atherine E.Shank, an O hio resident, purchased a used 2002 Honda Civic on July 6,
   2009 in O hio.Shank's claim s w ere transferred into the M D L from the Eastern Districtof
   New York.


                                          10
                                  O reeon Subclass

* Anaand KangyiChen,Texasresidents,purchased anew 2006 HondaAccord on M ay 24,
  2006 in Oregon.Theirclaim sweretransferred into the M DL from theW estern Districtof
  Pennsylvania.

* Laura M .Killgo,an ldaho resident,purchased a used 2003 Honda Elem entin 2009 in
  Oregon.Killgo's claim s were transferred into the M DL from the Central District of
  California,

@ Kathleen W ilkinson,an Idaho resident,purchased a used 2006 A cura M D X on A pril23,
  2009 in Oregon.W ilkinson's claim s were transferred into the M D L from the Southern
  DistrictofFlorida.

                              Pennsvlvania Subclass

* Deborah T.M organ,aFloridaresident,purchased a new 2008 Honda Elementin October
  2008 in Florida.M organ's claims were transferred into the M DL from the Southern
  D istrictofFlorida.

                              Rhode Island Subclass

@ M ary Hasley, a Rhode lsland resident, purchased a new 2002 Honda Accord VXS on
  August30,2002 in Rhodelsland.Hasley'sclaim swere direct-filed into theM DL.

@ Pam ela W ilsey,a lthode Island resident,purchased a used 2002 Honda Accord VLX in
  M arch 2010 in lthodelsland.W ilscy'sclaimswere direct-filed into theM DL.

                                Tennessee Subclass
   Sonya Annette Leonard,aNorth Carolina resident, purchased a new 2007 Honda A eeord
   in spring 2007 in Tennessee. Leonard'sclaim s were transferred into the M DL from the
   W estern DistrictofNorth Carolina.

* Rebecca Lew ,a Tennessee resident, purchased a new 2004 Honda Civic in July 2004 in
  Tennessee.Lew 'sclaim s were direct-filed into the M D L.

   Dan Peoples,a Texas resident,purchased a new 2004 Honda Accord in April2004 in
   Tennessee.Peoples'sclaimsweretransferred into the M DL from the Southern Districtof
   California.




                                        11
                                       T exas Subclass

* Kelly Ritter,a M innesota resident,purchased a used 2005 Honda Civic-Lx on February
  9,2006 in Texas.Ritter'sclaimswere transferred into the M DL from the CentralDistrict
  ofCalifornia.

@ Eric Rosson,a Floridaresident,purchased a used 2007 Honda Accord in August2007 in
  Texas.Rosson's claim s were transferred into the M DL from the Southern Districtof
  Florida.

@ DanielN.Silva,a Texas resident,purchased a used 2004 Honda Piloton Decem ber 1,
  2006 in Texas.Silva'sclaim swere direct-filed into the M DL.

                                      V irzinia Subclass

* Kathryn A. Tillisch,a Virginia resident, purchased a new 2005 Honda Pilot LX on
  February 26,2005 in V irginia.Tillisch's claim s w ere transferred into the M D L from the
  CentralD istrictofCalifornia.

                                   W estV irzinia Subclass

@ Jonathan Knight, a W est Virginia resident, purchased a used 2006 Honda Pilot on
  January 6,2009 in W estVirginia.Knight's claim swere transferred into the M DL from
  theSouthern DistrictofW estVirginia.

                                    W ashintton Subclass

   RobertF.Goodwin,a W ashington resident,purchased aused 2004 Honda CRV 4W D in
   2005 in W ashington.Goodwin'sclaimswere transferred into the M DL from the Eastern
   D istrictofM ichigan.




                                          12
                                 II.    LEG AL STANDARD

       The Courtincom orates the language on the legalstandard used repeatedly in the prior

ordersdism issing in partsom e claim s againstother defendants.

                                        111.   A NA LY SIS

   A . C hoice ofLaw A nalysis

       Reiterating the analysisfrom the M azda Order,the following states'choice oflaw rules

apply to Plaintiffs'claimsbecause theircaseswere eithertsled in thatstate ortiled directly into

the M DL,in which caseFlorida'schoice oflaw rulesapply.

       A labam a'
                .            Cervantes,M up hy,Tanner

       C alifornia:          W hitehead, Cody, G o, Bae, G am ino, H ollyw ood, K linger,
                             M claeod, Nannery, Takeda, Zamora, Taylor, Archers Boone,
                             Palm ieri,Lathouris,Killgo,Peoples,Ritter, Tillisch

      Florida'
             .               Cataldo, Flaherty, Ruth, Peaslee, Allen, Fuentes, Corteletti,
                             Kopelman, Koehler, Holm es, Schneider, Rash, M artinez,
                             M arkow itz, W eisberg, Jorgensen, the Burds, Severio, Sayre-
                             Scibona, Spiess,Dem beck, Klem er, W ilkinson, Hasley, W ilsey,
                             M organ,Rosson,Silva,Lew

      G eoraia:              Arnold,W atley

      K entuckv:             Pedersen

      M ichiaan:            Goodwin,Breschnev

      M issouri'
               .            M oehlm an,H odgson,Holland

      North C arolina'
                     .      Avery,Young,M eiser

      N ew Y ork:           G arcia,Shank,K azos,Tessier

      Pennsvlvania:         The Chens

      Tennessee'
               .            Leonard

      W estVirzinia:        Knight


                                               13
               Alabam a,G eorgia,North Carolina,and W estVirginia Choke ofLaw

        Alabam a's choice of1aw rulesfortol4 adions are based on tithe traditionalconflid rule

of Iex Iocidelictit'requiring a courtto dddetermine the substantive rights ofan injured party

according to thelaw ofthe state wherethe injury occurred.''Norrisv.Taylor,460 So.2d 151,
152 (Ala. 1984).kû-rhe rule of lex Ioci delicti remains the 1aw of Georgia '' Dowis v. M ud
                                                                               .




Slingers,Inc.,279Ga.808,816(Ga.2005).
       tlNorthCarolinafollowsthelexlocidelictirule glaw ofthesitusoftheclaim)inresolving
choice oflaw fortol4 claim s.''Ferry v Pullman Trailmobile,376 S.E.
                                       .                          2d 47,49 (N.C.Ct.App.
1989).ln W estVirginia,grjpxIocidelictihaslong been thecornerstone of(itslconflictoflaws
doctrine.''Paulv.NationalLfe,352 S.E.2d 550,555(W .Va.1986).
       ii.     C alifornia C hoiee ofLaw

       California applies a three-step kigovernm entalinterestanalysis''to resolve choice of1aw

issuesfortortactions asfollows:(1)the courtdetermineswhetherthe lawsofthe potentially
affectedjurisdiction arethe same ordifferent'
                                            ,(2)ifthelawsare different,thecourtexamines
each jurisdiction'sinterestin having its lawsapplied to the case to determine whethera true
conflictexists'
              ,and (3)ifatruecontlictexists,thecourtcomparestherelative strength ofeach
jurisdiction'sinterestin having itslawsapplied to theeaseto determine which state'sinterest
would be m ore impaired ifanotherstate's laws were applied. M azza v.Am.H onda M otor Co.,

666 F.3d 581,590 (9th Cir.2012).Yet,asathreshold matter,California recognizesthatSithe
place ofthe wrong has the predom inantinterest.''M azza,666 F.3d at593-94.Accordingly,the

ûtplace ofthe wrong''is considered to be the state in w hich the alleged harm occurred, or w here

the vehiclewaspurchased.




                                              14
         111.    Florida,K entucky,M issouri,and TennesseeChoiceofLaw

         Florida employsthe Stm ostsignificantrelationship test''when conducting a choiceof1aw

analysisin tortactions.See Grupo Televisa, S.A.v.Telemundo Commc'ns Grp.,Inc.,485 F.3d

1233,1240(11thCir.2007).Courtsconsiderfourtypesofcontactsto detenninewhichstatehas
thc mostsignificantrelationship to thtmatter:(1)theplacewhere theinjury occurred;(2)the
place where the conductcausing the injury occurred;(3)the domicile,residence nationality,
place of incorporation and place of business of the parties; and (4) the place where the
relationship,ifany,between the parties iscentered. f#. A courtshould evaluate these contacts

çiiaccordingtotheirrelativeimportancewith respecttotheparticularissue.'''Id (quoting j 145
oftheRestatement(Second)ofConflictofLaws). However,the firstcontactisgenerally the
mostimportant,asCçabsentspecialcircumstances,$gtlhcstatewheretheinjuryoccurredwould ..
.   be the decisive considtration in detennining the applicable choice of law .''' Pysca Panama,

S.z4.v.TensarEarth Techs.,Inc.,625F.Supp.2d 1198,1220(S.D.Fla.2008).
         liKentucky also followsthe çm ostsignificantrelationship'approach in tortand contract

cases.''Kirilenko v.Kirilenko,505 S.W .3d 766,769 (Ky.2016).çtM issouricourtsapply the
Smostsignificantrelationship'testas setforth in Restatement(Second)ofConflictofLaws
Section 188 when resolving choiceoflaw issues.''Sheehan v.Northwestern M ut.LfeIns.Co.s
44 S.W .3d 389,396 (Mo.Ct.App.2000).Tennessee courts also follow this approach.Siour
review ofthe background and m odern developm entofconflictsof 1aw rulesconvinces usthat

the lex locidelictidoctrine should be abandoned.Today we armounce a new rule- the çm ost

significantrelationship'approach oftheRestatement(Second)ofconllictofLJwJ.''Hataway v.
McKinley,830S.W .2d53,54(Tenn.1992).




                                                15
       iv.     M ichigan C hoice ofLaw

       M ichigan choiceoflaw rulesdifferfrom those previously discussed.M ichigan courts

       apply M iehigan law unless a irational reason' to do otherwise exists. In
       detennining whethera rationalreason to displace M ichigan law exists,gcourtsl
       undertakeatwo-stepanalysis.Firstgtheylmustdetennineifanyforeign statehas
       an interest in having its 1aw applied. If no state has such an interest, the
       presum ption thatM ichigan law willapply carmotbe overcome.lfa foreign state
       does have an interestin having its 1aw applied,(theyl mustthen determine if
       M ichigan's interests mandate thatM ichigan 1aw be applied,despite the foreign
       interests.

Sutherlandv.KenningtonTruckServ.,Ltd.,562N.W .2d466,471(M ich.1997).
               N ew Y ork C hoice ofL aw

       ltln tortactions,N ew York applies a so-called interest analysis''approach to choice of

law seleetion.Arochem Int'I,lnc.v.Buirkle,968F.2d 266,270(2d Cir.1992).In thisanalysis,
courts seek to apply the law ofthe state thathasthe greatestinterestin the litigation.Stu nderthis

formulation,the significantcontactsare,alm ostexclusively,the parties'domicilesand the locus

ofthetort.''Schultzv.BoyScoutsofAmerica,Inc.,480N.E.2d679,684(N.Y.1985).
       V I.    Pennsylvania C hoice ofLaw

       Pennsylvania perm its ita m ore tlexible rule w hich perm its analysis of the policies and

interestsunderlyingtheparticularissue beforethecourt.''Gr@ th v.UnitedAirLines,lnc.,203
A.2d796,805(Pa.1964).
   B. Substantive Law A nalvsis

       A pplying the choice of law analysis from the above-listed states to each corresponding

Plaintiff,the follow ing substantive law appliesto each Plaintiff'sclaim s:

       A labam a'
                .             Cervantes,M urphy,Tanner,W hitehead

       A rizona'
               .              Cody,Go,Pedersen

       C alifornia'
                  .           Bae, Cataldo, Flaherty, G am ino, H ollyw ood, K azos, K linger,

                                                16
                   M cLeod,Nannery,Ruth,Takeda,Zam ora

C onnecticut'
            .      Peaslee

Florida:           Allen, Fuentes, Corteleti, Kopelm an, Koehler, Holmes, Taylor,
                   Tessier,Schneider,R ash,M artinez,M arkow itz,W eisberg

G eorzia:          A rnold,W atley,Young

j;aW al
      **
       ls
        .          Archer,Jorgensen

Illinois-
        .          Breschnev

Indiana-
       .           Burd

j.
 sOll@
     lsl
       *ana:       Severio

M assachusetts'
              .    Sayre-scibona

M ichizan:         Boone

M innesota:        Spiess

s4issouri:         M oehlm an,Hodgson,H olland

North C arolina:   A very,Leonard,M eiser

New Jersev:        D em beck,K lem er

New Y ork:         (Jarcia,PalnAieri

N evada'
       .           Lathouris

O hio'             Shank

O regon:           Chens,K illgo,W ilkinson

Pennsylvania:      M organ

Rhode Island'
            .      H asley,W ilsey

T ennessee'
          .        Lew ,Peoples

T exas:            Rosson,Ritter,Silva

V irainia:         Tillisch
       W estV irainia:       Knight

       W ashinzton:          Goodw in

    C. M anifestation ofA llezed D efect

       Consistent with the Court's M azda Order,the Courtagrees with Plaintiffs'argum ent

regarding manifestation. As stated in the M azda Order,the Court's finding is limited to the

m otion to dismissstage,taking astruePlaintiffs'allegationsofauniform defectbased on theuse

ofam monium nitrate asapropellant.TheCourtnotesthatDefendantshaveraised the possibility

ofother causes and factorscontributing to the airbag intlatorm alfundions. Accordingly,these

factorsmaybeappropriatelyconsideredatthesummaryjudgementstage.
   D. H onda's K now ledze

       Consistentwith the Court'sM azda Order,the CourttsndsthatPlaintiffshave sufficiently

alleged Honda'sknowledgeofthe alleged inflatordefectto satisfy the pleading requirementsof

Rule9(b),
   E. C ount 10 and C ounts4-violation ofthe Sonz-Beverlv C onsum er W arrantv A ct

   Honda moves to dism iss Counts 10 and 54 for violations of the Song-Beverly Consumer

W arranty Actforbreach ofim plied warranty ofm erchantability on behalfofthe Nationwidc and

California Sub-class,respectively.Honda argues kinone of the Honda Plaintiffs who allegedly

purehased theirvehiclesin California say they experienced an airbag rupture orallege any other

manifestation of an alleged defed within one year (or forused cars,three months)oftheir
purchase or lease.'' Following the reasoning in the Court's M azda Order, the doctrine of

fraudulentconcealm enttolls the statute of lim itationswith respectto implied warranty claims.

Saler v.Chrysler Group LLC ,No.ED CV 14-00700-V A P,2015 W L 736273, at*8-9(C.D.Cal.

Feb.20,2015)(finding that fraudulentconcealmentcan tollstatute oflimitations on Song-


                                             18
BeverlyConsumerW arrantyAd claims).BecausetheSong-Beverly ConsumerW arranty Actis
aCalifornia statute,Count 10 isDISM ISSED asto allPlaintiffswhose claim sare notgovenwd

by California law and Count54 can proceed as to allPlaintiffs whose claim sare governed by

California law .

   F. C ount 14 and C ounts3-violation ofthe California False A dvertisina L aw

   Honda moves to dism iss Count 14 and Count 53 for violations of the California False

Advertising Law on behalf of the Nationwide and California Sub-class,respectively,because

Siplaintiffs have failed to identify with particularity any affirmative tfalse advertising.'''

Plaintiffs'claims,like Haklar's claim addressed in the Nissan Order,failto sufficiently allege

that Honda made a misstatement or om ission of the type required under Califom ia's False

Advertising Law. Some Plaintiffs even fail to allege that they viewed any kind of Honda

advertising.Therefore,for the reasons stated in the N issan O rder, Count 14 and Count53 are

D ISM ISSED either because California law does not apply to their claim s or their claim s

insufticiently allege thetypeofmisstatem entorom ission required underthelaw .

   G . C ount47-violation ofthe Florida Deceptive and Unfair Trade Practices A ct

       Honda movesto dismissCount47 forviolation ofFlorida'sDeceptive and UnfairTrade

PracticesAct(tiFDUTPA'')asallegedbytheFloridaConsumerSub-class.Hondaproffersthree
reasons Count 47 must be dismissed: (1) Plaintiffs have notalleged manifestation of the
puporteddefect;(2)Plaintiffsfailtoadequately allegetheirfraud-based claimspursuanttoRule
9(b)'sheightened pleading standard;and (3)Plaintiffs'claimsarebarred by Florida'sfour-year
statute oflim itations for FD U TPA claim s.H onda's firsttwo argum ents are unavailing given the

Court'sruling on the manifestation and knowledge issues,supra.Asto the statute oflim itations

issue,the Coul'
              tadoptsitsreasoning in the M azda Orderand denies Honda's motion to dism iss


                                               19
Count47 because the statute of lim itations could be equitably tolled due to Honda's alleged

fraudulentconcealment. Count47 can proceed asto allPlaintiffswhose claim sare governed by

Florida law .

    H . C ount4g-violation ofthe A labam a Deceptive Trade Practices A ct

    Honda movesto dism issCount49 forviolation ofAlabam a'sDeceptive Trade PracticesAct

('AADTPA'')asalleged by the Alabama ConsumerSub-class because itbelievesPlaintiffsdid
notprovide tim ely pre-suitnoticeasrequired by the statute.W hilethe CourttindsADTPA 'Spre-

suit notice requirem ent applies,the Coul'
                                         t also believes that Plaintiffs have sufficiently alleged

the requirement was satisfied. Honda fails to note any particular deficiency in the notice

received.Rather,Honda only takes issue with theallegationsofnotice,arguing Plaintiffsdo not

allege notice was provided priorto the filing ofany action.Specifically,Plaintiffshave alleged

thatk'Plaintiffs'counsel,on behalfofPlaintiffs,served Defendants with notice oftheir alleged

violations ofthe Alabam a DTPA relating to the C lass V ehicles and/orthe Defective A irbags . . .

and demanded thalDefendantscorrectoragree to eorred the adionsdeseribed therein.''(D.E.
579 at283).Viewing theallegationsinthelightmostfavorableto Plaintiffs,theCourtfindsthat
Plaintiffs have sufficiently alleged that they satisfied ADTPA'S notice provision. For the

foregoingreason,the CourtdeniesHonda'smotion to dismissCount49,which can proceed asto

allPlaintiffswhoseclaim saregoverned by Alabam a law.

       Count J-violation of M aanuson-M oss W arrantv A ct and C ounts 62.66. 69.71.73.
       76. 78. 80. 81. 90. 92. 98. and lo3-violations of state im plied w arranty of
       m erchantabilitv claim s

   Honda moves to dism iss various counts alleging violations of different states' implied

w arranty ofm erchantability law s.Honda arguesthe ltw arranty provided w ith new vehicles lim its

the duration of any im plied w arranties, including m erchantability, to the term of the express



                                               20
warranty- three years or 36,000 m iles,whichever com es tirst'' and that Plaintiffs' express

warrantiesexpiredbecausetheirvehiclesare2001-2008models.Plaintiffsrespond (1)thatthey
adequately alleged that any durational lim its on the N ew V ehicle Lim ited W arranties and

associated implied warrantiesareunconscionable,andthereforeunenforceable;and(2)thatthey
adequately alleged thatH onda breached the im plied w arranty w ithin the w arranty period because

the intlatordefectexisted in the vehicles- and Honda knew aboutthe defectatthe time ofsale.

Following the analysis from the M azda Order, the Court denies Honda's motion to dism iss

Counts 62,66,69,7l,73,776s78,80,F 81,90,92,98, 103 and their derivative M agnuson M oss    -




W arranty A ctclaim s.

    J. C ount 15 and C ountss-N ezliaentFailure to R ecall

    Honda moves to dismiss Count 15 and Count 55, negligent failure to recall, because

Plaintiffsseek reliefsolelyforalleged economicinjuriesonbehalfoftheNationwideConsumer
Classand California ConsumerSub-class,respectively. Forthereasonsdiscussed in theCourt's




1      Llonda argues the M ichigan implied warranty claim and its derivative M agnuson M oss
                                                                                           -

W arranty Actclaim should be dism issed because there isno privity between the M ichigan Sub-
Classand Honda asrequired by a districtcourtcase in M ichigan, Harnden v.Ford M otor Co.,
408 F.Supp.2d 315,322 (E.D.M ich.2005).However,(Michigan districtcourtlcasesare not
binding on this courtand do nothave the substantialweightofthe decisions ofthe M ichigan
Suprem e Court and the M ichigan Court of A ppeals on an issue of M ichigan law .''Pack v.
Damon Corp.,434 F.3d 810,820 (6th Cir.2006).ln sum,'iM ichigan hasabandonedtheprivity
requirem entfor im plied-warranty claim s.''Id Thus,the Courtalso denies Honda's m otion to
dism issCount73 and itsderivativeM agnuson-M ossW arranty Actclaim on thatground.

        Honda also arguesthatthe statute oflimitationson theNevada and Pennsylvania implied
warranty claim s have expired,and thatthey- along with derivative M agnuson-M oss W arranty
claims- should be dismissed. The Courtaddressed the statute oflim itation issue with respectto
im plied w arranty claim s under N evada and Pennsylvania 1aw in its Toyota O rder. See D .E. 1202
at26-29.Thus,the Courtalso deniesHonda'sm otion to dism issCount80 and Count90 on that
ground.

                                               21
BM W Order,9the econom ic lossrule appliesto negligentfailure to recallclaim sbroughtunder

Californialaw.Thus,Count15 and Count55 are DISM ISSED.

    K . C ount59.C ount70.and Count102-violationsof the G eoraia Fair Business
        Practices A ct.M assachusetts Consum er Protection A ct.and W estV irzinia
        C onsum er C reditand Protection A ct

       Honda movesto dism issCount59,Count70,and Count 102 forfailure to provide pre-

suitnotice as required by their respective states' statutes.Viewing the allegations in the light

m ost favorable to Plaintiffs,the Courtfinds that Plaintiffs have sufficiently alleged that they

satistied the notiee provision because Honda failsto note any particulardeficiency in the notice

received and takes issue only with the allegationsofnotiee.Forthe foregoing reason,the Court

denies Honda'sm otion to dism issCount59,Count70, and Count 102.

    L. Countll-uniustEnrichm ent

       Hondamovesto dismissCount11forunjustenrichmentasalleged by allPlaintiffs. For
the reasons stated in the M azda Order i.e.because Plaintiffs have alleged thatallapplicable

warrantiesare procedurally and substantively unconscionable and are therefore notenforceable

and thatPlaintiffshave no adequaterem edy atlaw- theCourttindsthatatthe motion to dism iss

stage,Plaintiffs have sufficiently alleged thatthe Named Plaintiffs do nothave an adequate

rem edy atlaw .A ccordingly,the Courtdoes not dism iss Count 11 under any state's 1aw on that

ground. lnstead,itanalyzesthe sufficiency ofeach Plaintiff's claim underthe substantive 1aw

that applies to them only if they conferred a benefit on Honda by purchasing their vehicles

diredly from aHondadealership.Thus,theCourtdoesnotaddressunjustenrichmentunderthe
Iaw of all states that are applicable to Plaintiffs if no Plaintiff from that state purchased their

vehiclefrom a Honda dealership.


9      % D .Iï. 1256 at29-30.
       k.ee


                                               22
               A labam a Law

       ln Alabama,Ctgtlo prevailon a claim ofunjustemichment,the plaintiffmustshow that
the ûdefendantholds money which,in equity and good conscience,belongs to the plaintiffor

holdsmoney which wasimproperly paid to defendantbecause ofmistakeorfraud.t''Wyeth v.
Blue CrossBlue Shield ofzqla.,42 So.2d 1216,1222 (Ala.2010)(citing Dickinson v.Cosmos
Broad.Co.,782 So.2d 260,266 (Ala.2000)).Following the reasoning in the Court'sM azda
Order, the Court denies H onda's m otion to dism iss Cervantes's and M um hy's claims, but

because Tanner and W hitehead did not purchase their vehicles at a H onda dealership, their

claim sare D ISM ISSED .

       ii.     A rizona Law

       In Arizona,dkgaln unjustenrichment claim requires proof of five elements: é(1) an
enrichm ent,       an impoverishment, (3) a cormection between the enrichment and
impoverishment,(4)theabsenceofjustificationfortheenrichmentand impoverishment,and(5)
the absence of a remedy provided by law.' (internal quotations omitted).ln short,unjust
enrichm entprovides a remedy when a party hasreceived a benefitatanother'sexpense and,in

good conscience,the benefitted party should com pensate the other.''' Wang Elec.,Inc.v.Sm oke

TreeResort,LLC,230Ariz.314,318(Ariz.2012).FollowingtheM azdaOrder,theCourtdenies
Honda's m otion to dism iss Cody's claim and grants Honda's m otion to dism iss Go's and

Pedersen's claim s because they did not purchase their vehicles at a Honda dealership.

A ccordingly,theirclaim s are D ISM ISSED .

       iii.    C alifornia Law

       California recognizesthe principlebehind unjustenrichmentby requiring ikrestitution if
kadefendant)isunjustlyenrichedattheexpenseofanother.Therecipientofthebenefitisliable


                                              23
only ifthe cireum stances are such that,asbetween two persons, itisunjustforthtrecipientto

retain it.''Cj/y of Chula Vista v.Gutierrez,143 Cal.Rptr.3d 689,(Cal.Ct.App.2012).The
unjustenrichmentclaims as to the following Plaintiffs can proceed because their cars were
purchased from H onda dealerships:Bae, Cataldo, G am ino, Hollywood,M cLeod,Takeda,and

Zamora.Flaherty's,Kazos's,Klinger's,Nannery's,and Ruth'sclaim sare DISM ISSED because

theircarsw erenotpurchased from Hondadealerships.

               ConnecticutLaw

       ln Connecticut,Skgpllaintiffsseeking reeovery forunjustenriehmentmustprove (1)that
thedefendantswerebenefited,(2)thatthe defendantsunjustly did notpay theplaintiffsforthe
benefits,and(3)thatthefailureofpaymentwastotheplaintiffs'detriment.''Schirmerv.Souza,
l26Conn.App.759,762(Conn.App.Ct.2011).TheCourtthereforedeniesHonda'smotionto
dismiss Peaslee's unjust enrichment claim because she purchased her vehicle at a Honda
dealership,

               Florida Law

       UnderFloridalaw,'igalclaim forunjustenrichmenthasthreeelements: (1)theplaintiff
hasconferred abenefiton thedefendant;(2)thedefendantvoluntarily acceptedandretainedthat
benefit;and (3)the circumstancesare such thatitwould be inequitable forthe defendantsto
retain itwithoutpaying the value thereof'' Virgilio v.Ryland Grp., Inc.,680 F.3d 1329, 1337

(1lth Cir,2012).Plaintiffs have sufficiently alleged thatHolmes,Koehler,Kopelman,Rash,
Tessier,and W eisberg did conferadirectbenefiton Honda by purchasing theirvehicles from a

Honda dealership. A llen's, Corteleti's, Fuentes's, M arkow itz's, M artinez's, Schenider's, and

Taylor's claim s are D ISM ISSED because they did not purchase their vehicles at Honda

dealerships.



                                              24
       vi.    G eorgia Law

       C$A claim ofunjustenriehmentwilllieifthereisno legalcontrad and 'thepartysoughtto
becharged hasbeen conferred abenefitby thepartycontending an unjustenrichmentwhich the
benefited party equitably oughtto return orcompensate for.'''Jones v.White, 311 G a.A pp.822,

827 (Ga.App.2000)(citingSmith v.M cclung,215 Ga.App,786,789 (1994)).ii-f'
                                                                        heconceptof
unjustenrichmentin 1aw ispremised upon the principlethata party cannotinduce,accept,or
encourage anotherto furnish orrendersom ething ofvalue to such party and avoid paymentfor

the valuereceived.''Jones,311 Ga.App.at827 (citing Scoffv.MamariCorp.,242 Ga.App.
455,458 (Ga.App.2000)).Based on the sameanalysisin the M azdaOrder,theCourtdenies
Honda's m otion to dism iss W atley's claim . A rnold's and Y oung's claim s are DISM ISSED

because theirvehicles w ere notpurchased atHonda dealerships.

       vii.   H aw aiiLaw

       ûigA1 claim for unjustenrichmentrequires only thata plaintiff prove thathe or she
Seonfergredlabenetitupon'theopposingparty and thattheSretention (ofthatbenefit)would be
unjust.''Wagnerv.WorldBotanicalGardens,Inc.,268P.3d443,455 (Haw.Ct.App.2011).As
previously discussed,Plaintiffscannotprove they conferred a benefiton Honda withouthaving

purchased theirvehicles from Honda dealerships.Butboth Archer and Jorgensen did purchase

theirvehicles directly from a dealership.Therefore,Honda'sm otion to dism isstheirclaim s is

denied.

      viii.   IllinoisL aw

      ûk'
        l'o state a claim forunjustenrichment,Sa plaintiffmustallege thatthe defendanthas
unjustly retained a benefitto the plaintiffs detriment,and that defendant's retention ofthe
benefitviolatesthefundamentalprinciplesofjustice,equity,andgoodconscience.'''Stefanskiv.


                                            25
Ci%'of Chicago,28 N.E.3d 967,980 (111.App.Ct.2015).Because Breschnev purchased his
AcuraatanAcuradealership,hisunjustenrichmentclaim can proceed.
       ix.    Indiana Law

       ik'
         l'o recoverunderan unjustenrichmentclaim,a plaintiffmustgenerally show thathe
rendered abenetittothe defendantatthe defendant'sexpressorimplied request,thattheplaintiff

expeded paym ent from the defendant,and that allowing the defendant to retain the benefh

withoutrestitution would beunjust.''Reed v.Reid,980 N.E.2d 277,296 (lnd.2012).Because
the Burds purchased their Honda ata Honda dealership,their unjust enrichment claim can
proceed.

       X.     M assachusettsL aw

       t:A plaintiff asserting a claim for unjustenrichmentmust establish not only that the
defendantreceived abenefit,butalsothatsuch abenefitwasunjust,daqualitythatturnson the
reasonableexpectationsofthe parties.'''Metropolitan Lfelns.Co.v.Coffer,984 N.E.2d 623,
644 (Mass.20l3).Sayre-scibonapurchasedhervehiclefrom aHondadealership.Therefore,the
CourtdeniesHonda'smotiontodismissherunjustenrichmentclaim.
       xi,   N evada Law

       ttunjustenrichmenlis the unjustretention of a benefitto the loss ofanother,orthe
retention ofmoneyorproperty ofanotheragainstthefundamentalprinciplesofjusticeorequity
and good conscience (internalcitations omitted).This courthas observed thatthe essential
elements of unjust enrichment iare a benetit conferred on the defendant by the plaintiff,
appreciation by the defendantofsuch benefit,and acceptance and retention by the defendantof

such benetit.'''Topaz M ut.Co.,Inc v.M arsh,839 P.
                                .                2d606,613(Nev.1992).BecauseLathouris




                                           26
purchased his vehicle ata Honda dealership,the Courtdenies Honda's m otion to dism iss his

claim ,

          xii.   N ew Jersey Law

          ln New Jersey,k'gtlhere are two basic elements of an unjust enrichment claim.The
plaintiff m ust lshow both that defendantreceived a benefh and that retention of thatbenefh

withoutpaymentwould be unjust.'''D.R.Horton Inc.-New Jersey v.DynastarDevelopment,
L.L.C.,No.M ER-L-1808-00,2005W L 1939778,at*18 (N.J.Aug.10,2005).SeeVRG Corp.v.
GKN 't?l//y Corp.,641A.2d 519 (1994)).Becauseboth Dembeck and Klemerpurchased their
vehicles from a H onda dealership,the CourtdeniesH onda's m otion to dism isstheirclaim s.

          xiii. O hio Law

          To make an unjustenrichmentclaim in Ohio,a plaintiffmustestablish:;t(1)abenefit
eonferredbyaplaintiffupon adefendant;(2)knowledgebythedefendantofthebenefh;and(3)
retention ofthebenefitby thedefendantundercircumstanceswhere itwouldbe unjustto do so
withoutpaym ent.''Columbus SteelCastings Co.v. King Tool Co.,N o.08AP-385,2008 W L

5104786,at*3 (Ohio Ct.App.Dec.4,2008).The Courtdenies Honda's motion to dismiss
Shank'sunjustenrichmentclaim becausehepurchasedhiscarfrom aHondadealership.
       xiv.      O regon Law

       iiThe elements ofthe quasi-contractualclaim of unjust enrichmentare (1) a benefit
conferred,(2)awarenessby the recipientthatshe hasreceived the benefit,and (3)itwould be
unjustto allow therecipientto retain thebenefitwithoutrequiring herto pay forit.''(internal
quotationsomitted).lnthecontextofanunjustenrichmentclaim,theOregonSupremeCoul'thas
detined a tbenefit' broadly,eiting the Restatement of Restitution j 1 (1937).55 Wilson v.
Gutierrez,323P.3d 974,978(Or.Ct.App.2014).Killgohasplausibly allegedthathedidconfer


                                             27
a directbenetiton Honda through a Honda dealership.W ilkinson's and tht Chens'selaim s are

DISM ISSED becausethey did notpurchasetheirvehiclesatHondadealerships.

        xv.    Rhode Island L aw

        liunderlkhode lsland law,unjustenrichmentisnotsimply aremedy in contractandtort
butcan stand alone asacause ofaction in itsown right(internalcitationsomitted).To recover
forunjustenrichment,aclaimantmustprove:(1)thathe orshe conferred a benefitupon the
party from whom reliefissought;(2)thattherecipientappreeiatedthebenetit;and (3)thatthe
recipientaccepted the benefitundersuch circumstances kthatitwould be inequitable for (the
recipientltoretainthebenefitwithoutpayingthevaluethereof.'''Dellagrotta v.Dellagrotta,873
A.2d 101,1l1 (R.I.2005)(citing Bouchard v.Price,694 A.2d 670,673 (R.I.1997)).Hasley
purchased his vehicle from a Honda dealership,but W ilsey did not.Thus,Hasley's unjust
enrichm entclaim can proceed and W ilsey'sclaim isD ISM ISSED .

       xvi.    Tennessee Law

       lnTennessee,itgtjheelementsofanunjustenrichmentclaim are:1)tga1benefitconferred
upon the defendantby the plaintiff'
                                  ,2)appreciation by the defendantof such benefit;and 3)
acceptance of such benetst under such circum stances that it w ould be inequitable for him to

retain the benetit withoutpaym ent of the value thereof. The m ostsigniticantrequirem entofan

unjustenriehmentclaim isthatthe benetitto the defendantbeunjust.'''Bennetv.Visa U.S.A.,
Inc.,198S.W .3d747,755(Tenn.Ct.App.2006)(eitationsomitted).BecauseLeonard,Lew,and
Peoplesallpurchased theirvehiclesfrom Hondadealerships,the CourtdeniesHonda'smotion to

dism iss theirclaim s.




                                            28
       xvii. T exasL aw

       Texascourtshaveheld thatitgulnjustenrichment,isnotan independenteauseofaction
butrathercharacterizesthe resultofa failure to make restitution benefits either wrongfully or

passively received under circum stances that give rise to an im plied or quasi-contractual

obligation to repay.''Foley v.Daniel,346 S.W .3d 687,690 (Tex.Ct.App.2009)(citation
omitted).However,litiln somecircumstances,ovepaymentsunderavalidcontractmay giverise
to a claim forrestitution orunjustenrichment.''Id.at690-91 (citation omitted).Because the
Courthasonly made adeterm ination asto the sufficiency ofPlaintiffs'claim sunderam otion to

dism iss standard,and notwhether Plaintiffs actually overpaid for their vehicles, their claim s

should not be dism issed at this stage. Such inquiry would be appropriate at the summ ary

judgmentstageortrial.Therefore,the CourtdeniesHonda'smotion to dismissCount11asto
Ritterand Rosson butgrantsthem otion asto Silvabecause he did notpurchase hisvehicle ata

H onda dealership.A ccordingly,Silva'sclaim is D ISM ISSED .

       xviii. V irginia Law

       ikA causeofactionforunjustenrichmentin Virginia krestsupon thedo'
                                                                       ctrinethataman
shallnotbe allowed to enrich himselfunjustly atthe expense ofanother'''(internalcitation
omitted).Specifically,the moving party musttypically demonstrate the existence of:
benetiteonfcrredonthedefendantbytheplaintiff;(2)knowledgeonthepartofthedefendantof
theconferringofthebenefit;and (3)aeceptance orretention ofthebenefitby thedefendantin
circum stancesthatrenderitinequitable forthe defendantto retain the benefitwithoutpaying for

itsvalue.''Virginia M un.Group Self-lnsurance Ass'n v.Crawford,No.CH03-59,2004 W L
3132010,at*5 (Va.Cir.Ct.Nov.24,2004).BecauseTillisch purchasedhisvehicleataHonda
dealership,hisclaim can proceed.


                                             29
       xix. W estV irginia L aw

       ln W est Virginia,Ségtjhe elements ofan unjust enrichmentclaim are:t(1) a benetit
conferred upon the gdefendantj,(2)an appreciation or knowledge by the defendantof such
benefit,and (3) the acceptance or retention by the defendant of the benefit under such
circumstancesasto make itinequitable forthe defendantto retain thebenefitwithoutpaym entof

itsvalue'(intcrnalcitationsomitted).W estVirginia specifically requiresthatthebenefhswere
ireeeived and retained under such eircum stance thatitw ould be inequitable and unconscionable

to perm itthe party receiving them to avoid paym enttherefor.'''Employer Team sters v. Bristol

MyersSquibbCo.,969F.supp.zd463,471(S.D.W .V.2013)(citing Copley v.MingoCnfy.#J.
of Educ.,466 S.E.2d 139 (W .Va.1995)).Because Knightpurchased hisvehicle ata Honda
dealership,theCourtdeniesHonda'smotiontodismisshisunjustenrichmentclaim.
       xx.    W ashington L aw

       In W ashington,Sigtlhree elementsmustbe established forunjustenrichment:(1)there
mustbeabenefitconferredononepartybyanother;(2)thepartyreceivingthebenefitmusthave
anappreciationorknowledgeofthebenefit;and(3)thereceivingpartymustacceptorretainthe
benefitundercircumstances thatmake itinequitable forthe receiving party to retain the benefit

w ithout paying its value.''Dragt v, Dragt
                                         /De Tray,LLC,139 W ash.App.560,576 (W ash.Ct.
App.2007).Goodwin's elaim meets thisthreshold because he purchased his vehicle from a
Honda dealership.Thus,the Courtdenies Honda'sm otion to dism iss hisclaim .




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                                   IV.      CO NCLUSIO N

         Based on theforegoing,itishereby

         ORDERED AND ADJUDGED that Honda's M otion to Dismiss (D.E. 6161 is
G R AN TED IN PA R T and D EN IED IN PAR T . Specifically,Count 12,13,14, 15, 48,53,55,

and 86 are DISSIISSED.Count3 isDISI
                                  NIISSED asasserted by the Florida and North Carolina

Plaintiffs.Honda's M otion to Dism issCount10 and Count 11 is GRANTED IN PART AND

D EN IED IN PA RT .

         DO NE AN D O R DER ED in Cham bers, M iam i, Florida,this           day of M ay,
20 17.                                                           .
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                                              ITED ST AT ES DIST R IC T JU D G E
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Copiesfum ished to:
Counselofrecord




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